
224 Pa. Superior Ct. 460 (1973)
Murphy
v.
Murphy, Appellant.
Superior Court of Pennsylvania.
Argued June 13, 1972.
April 12, 1973.
Before WRIGHT, P.J., WATKINS, JACOBS, HOFFMAN, SPAULDING, CERCONE, and PACKEL, JJ.
Joseph J. Murphy, for appellant.
Arthur R. Littleton, with him Frances Woerner, and Morgan, Lewis &amp; Bockius, for appellee.
OPINION PER CURIAM, April 12, 1973:
Order affirmed.
DISSENTING OPINION BY SPAULDING, J.:
I respectfully dissent.
Appellant challenges the constitutionality of the Act of May 2, 1929, P.L. 1237, § 46, as amended, 23 P.S. § 46, which allows for the payment of alimony pendente lite, counsel fees and costs to wives, but not to husbands. *461 I believe the statute to be unconstitutional for the reasons stated in the dissenting opinion in Henderson v. Henderson, 224 Pa. Superior Ct. 182, 303 A. 2d 843 (1973). I would therefore reverse the order of the court below.
HOFFMAN, J., joins in this dissenting opinion.
